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U.S. distercr COURT. ik MEW YORK SOUT FRO  DIVESTON

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DONALD TRUMP - Tvanwdn FeumP KusHee >

 

CRIMEAL _ COMPLATUT

 

 

The Pir. brings this as the alove Def. Was

 

in reciept of alleged |y funneled bribes from a_ Andrew

 

Livecid Which 15 a foreign national af Australia via

 

Dow Chemical Company which 15 not allowed in goverment .

 

Irn 2013 an amount of B 1,000, 000 .00 US. Was giver

 

to the camo Tow which was used at +he venue of

 

LANAG ucation._ @elebrxtions —_ ate - LANAKACATION TAC Funds were

 

 

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ASSOCLATED CASES =

 

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Cassaday Vs - Trump - \ -Zl-ey . To

 

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his Current situation.

 

PIF, Locnrrow ° ___ CHAGE OF ADPeESs (when allowed)
C Please. keep Under sec)

Neway go County Sau\

300 Wiliams S+ ASIF _N- Stark Rd

P.O. Box FHS Hove , Mr 48629

White Cloud, mr 44349 !

 

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